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UNITED STATES DISTRICT COURT                                           1/12/2021
SOUTHERN DISTRICT OF NEW YORK
UNITED STATES OF AMERICA,

                    -against-                                    20-CR-368 (NSR)
DONTA DIXON,                                                 ORDER AND OPINION
                                Defendant.

Nelson S. Román, United States District Judge:

        Defendant Donta Dixon (“Defendant”) is charged in a one count indictment with violating

18 U.S.C. § 922(g)(1) and (2). Defendant now moves to suppress (1) physical evidence recovered

from Defendant’s person on May 29, 2020 including a firearm, ammunition, and an iPhone, (2) all

post-arrest statements on the basis that the Yonkers Police Department (“YPD”) officers (a) lacked

probable cause to arrest him, and (b) lacked reasonable suspicion to stop and search him, and all

statements were obtained following an unlawful stop, search, and arrest. The Government argues

that (1) the YPD had reasonable suspicion to stop Dixon, (2) YPD arrested the Defendant on

probable cause, and (3) the post-arrest statements should not be excluded. Defendant requests an

evidentiary hearing, which the Government argues is unnecessary. For the reasons that follow, the

Court GRANTS Defendant’s motion to the extent of setting the matter for an evidentiary hearing

to determine whether the police officers’ stop and subsequent search of the Defendant, resulting in

the discovery of physical evidence, was lawful, and whether Defendant’s statement enroute to the

station was spontaneous or the subject of a custodial interrogation.

                                         BACKGROUND

   I.      Factual Background

        The following facts are drawn from the criminal complaint filed in this matter

(“Complaint”) (ECF No. 2), the indictment (ECF no. 12), and the parties’ submissions.
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               A. Defendant’s Account of the Stop, Search, & Arrest

       Defendant avers that he left his girlfriend’s apartment around 5:00 p.m. on May 29, 2020

with an orange Nike cross-body bag across his torso. (Decl. of Donta Dixon (“Dixon Decl.”) (ECF

No. 29) ¶¶ 5-6). As he walked, he was listening to music on his iPhone using wired earbuds. (Id.

¶ 7.) He stopped at a deli and purchased loose Newport cigarettes, which he placed in his orange

Nike cross-body bag. (Id. ¶ 9.) As he walked he continued listening to his music and he does “not

recall looking into [his] cross-body bag, but if [he] did, [he] believe[s] [he] would have looked for

the Newport cigarettes [he] had purchased.” (Id. ¶ 12.) He “walked north on Riverdale Avenue,

saw multiple police cars driving very fast, heading south on Riverdale Avenue with their sirens

on. [He] turned to watch the police cars as they passed and then continued walking north on

Riverdale Avenue.” (Id. ¶ 13.) As he “approached Hudson Street on Riverdale Avenue, [he] began

to cut through a parking lot on the right side of Riverdale Avenue to get to Hudson Street and then

to the bus stop,” and when he “began walking on Hudson Street, [he] saw an unmarked car drive

up to the left side of [him] and saw a number of people jump out of the car” who he later learned

were plainclothes YPD police officers. (Id. ¶¶ 14-15.) “The YPD police officers immediately

began yelling at [him] ‘What was in the bag!’” (Id. ¶ 16.) He avers that he “took a step back and

then a YPD police officer pushed [him] face first against a wall with [his] hands behind [his] back”

and “another YPD police officer took off [his] orange Nike cross-body bag, and then took [his]

iPhone from [his] hands.” (Id. ¶ 18.) “While one YPD officer placed [him] in handcuffs, the other

YPD officer began searching [his] orange Nike cross-body bag.” (Id. ¶ 19.)

               B. The Government’s Account of the Stop, Search, & Arrest

       The police incident report regarding Defendant’s arrest states:

       On Friday, 05/29/2020, 3rd Precinct ACU Officers Fico/Greene/Sgt. Schwartz were
       utilizing plainclothes and unmarked police vehicles to conduct patrol activities. Sgt.

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       Schwartz, while in the area of Cerrato Park, observed [Defendant or “the male”]
       walking northbound on the sidewalk bordering Cerrato Park . . . . [wearing] an
       orange fanny pack slung over his left shoulder and around his torso. The fanny pack
       appeared to be weighed down by a heavy object inside, which appeared to be
       swinging freely causing the pouch to move about his person, and the male
       frequently adjusted it. As Lieutenant Lacey was driving a marked radio car (R/C
       312) southbound on Riverdale Av, Sgt. Schwartz watched the male observe the
       radio car and quickly grasp the fanny pack and begin taking hesitant strides, as if
       he were going to alter his direction of travel based on the marked police car’s
       movement, further he continued to look over his shoulder to maintain visual contact
       of the radio car. Sgt. Schwartz advised us of his observations and we began
       observing the same male at Riverdale Av and Prospect St. We watched the male
       travel through the Hudson St. Municipal Parking Lot on the northeast end of the
       Riverdale/Prospect intersection. While observing the male, we saw him look down
       and adjust the fanny pack and then look around nervously. The male then turned
       eastbound on Hudson St and began walking towards South Broadway while
       continuing to nervously glance over each shoulder. We exited our vehicle and
       approached the male to conduct a field interview in front of 2 Hudson St. We
       immediately identified ourselves as Yonkers Police Officers and our shields were
       visible to the public. 4th Precinct ACU Officers Reda/M. Giusto were now
       accompanying us and identified themselves as Yonkers Police Officers as well.
       When we approached the male, his eyes widened, he took a step backwards (away
       from us) and then bladed the right side of his body away from us as if to conceal
       the pouch of the fanny pack. Fearing that the male was in possession of a weapon,
       P.O. Greene grabbed the exterior of the fanny pack and felt a heavy object that due
       to the the [sic] weight and shape, he knew to be consistent with a firearm. P.O.
       Greene placed the male into custody without incident and the male identified
       himself as (SA) Donta Dixon. P.O. Greene then removed the fanny pack from the
       male and turned it over to me. I then opened the fanny pack and observed a firearm
       with a gray slide and black grip; subsequently removed the firearm to confirm it
       was not an imitation weapon; slightly pulled the slide back to confirm whether or
       not it was loaded, saw the brass casing of a bullet, and placed the firearm back into
       the fanny pack without cycling or tampering with the battery of the weapon.

(Ex. B to Facciponti Decl. (“Report”) (ECF No. 27-2).)

       In the Complaint, Brian Menton, a Task Force Officer with the Federal Bureau of

Investigation who interviewed the arresting officers avers:

       a. On or about May 29, 2020, police officers from the YPD 3rd Precinct anti-crime
       unit were on duty in the vicinity of Joseph Cerrato Park, in Yonkers, New York.

       b. At approximately 5:20 p.m., on or about May 29, 2020, a YPD police officer in
       plain clothes (“Officer-1”) and his partner, were in an unmarked car near the corner

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       of Riverdale Avenue and Vark Street, when they observed an individual
       (“Individual-1”) walking north on Riverdale Avenue.

       c. According to Officer-1, Individual-1 had an orange fanny pack slung across his
       chest. Officer-1 watched as Individual-1 adjusted the fanny pack, peered into it,
       then looked over his shoulder. Individual-1 repeated this action several times while
       walking.

       d. According to Officer-1, the fanny pack appeared to contain a heavy object,
       because each time Individual-1 adjusted the fanny pack, it slid back down his torso.

       e. According to Officer-1, a marked YPD patrol car drove past Individual-1, and
       Individual-1 grabbed the fanny pack and shifted his body to shield the fanny pack
       from view of the patrol car.

       f. According to Officer-1, he and his partner approached Individual-1 as Individual-
       1 turned right on Hudson Street. Officer-1 identified himself as a YPD officer, and
       pointed to the shield on his waist. Officer-1 stated, in substance and in part,
       “Yonkers Police, can we talk to you for a minute?”

       g. According to Officer-1, as he approached Individual-1, Individual-1 grabbed the
       fanny pack, took a step backward, and turned his body to shield the fanny pack
       from view. Based on Individual-1’s movements during the time they observed him,
       and the apparent weight of the object in the fanny pack, which settled at the bottom
       of the bag, Officer-1 believed the fanny pack may have contained a weapon.

       h. According to Officer-1, his partner asked Individual-1, in substance and in part,
       if he had any weapons or drugs on his person. Individual-1 stated that he did not.
       For safety purposes, Officer-1’s partner conducted a pat down of Individual-1, and
       identified the object in the fanny pack as a gun.

       i. According to Officer-1, after finding the gun he placed Individual-1 under arrest,
       and transported him to the YPD.

(Complaint at 2-3).

              C. Post-Arrest Statements

       According to the police report, “R/C 3H (Vieira/J. Menton) transported Donta to the

Detective Division, where, at approximately 1747hrs, he spontaneously uttered how he came into

possession of the firearm.” (Report.) Defendant signed a Miranda waiver card at 7:42 P.M. on May

29, 2020. (Ex. C to Facciponti Decl. (“Miranda Card”) (ECF No. 27-3).)


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         The Complaint states in relevant part that:

         DIXON waived his Miranda rights, and agreed to speak to law enforcement
         officers. DIXON stated, in substance and in part, the following:

         a. On or about May 29, 2020, DIXON contacted a friend on Snapchat, and arranged
         to purchase a gun. According to DIXON, he was directed to meet an unknown
         individual at Joseph Cerrato Park in Yonkers, New York, at 10:30 a.m.

         b. DIXON paid $150 for the gun, which was delivered to him in the orange fanny
         pack.

         c. DIXON stated that as he was leaving the park, he continuously unzipped the
         fanny pack to examine the gun, because he was concerned that the inexpensive
         price might mean the gun was defective.

(Complaint at 3.)

   II.      Procedural History

         A sealed Complaint was signed by Magistrate Judge Lisa Margaret Smith on May 30, 2020.

The Complaint was unsealed on June 1, 2020. On June 17, 2020, Magistrate Judge Lisa Margaret

Smith granted bail. On July 21, 2020, the Government filed a one-count indictment charging

Defendant with knowing that he had previously been convicted of a felony and nonetheless

possessing a firearm—a Bryco Arms, model Jennings Nine, 9 millimeter pistol—which previously

had been shipped and transported in interstate commerce in violation of 18 U.S.C. § 922(g)(1)-(2).

(ECF No. 12.) On August 3, 2020, Defendant was arraigned on the indictment and entered a plea

of not guilty. The initial conference before this Court was held on September 9, 2020, during which

the Court granted Defendant leave to file the instant motion. Defendant filed the instant

suppression motion on November 30, 2020. (ECF No. 26.) The Government filed its memorandum

in opposition on December 21, 2020. (ECF No. 30.) Defendant filed his reply on January 4, 2021.

(ECF No. 31.)




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                                      LEGAL STANDARDS

       I.       Evidentiary Hearings

       To defeat a suppression motion, “[t]he Government bears the burden of proof as to

establishing probable cause” or reasonable suspicion, as the case may be. United States v.

Delossantos, 536 F.3d 155, 158 (2d Cir. 2008). The Government must make this showing “by a

preponderance of the evidence.” United States v. Matlock, 415 U.S. 164, 177 n.14 (1974).

       “[A]n evidentiary hearing on a motion to suppress ordinarily is required if the moving

papers are sufficiently definite, specific, detailed, and nonconjectural to enable the court to

conclude that contested issues of fact going to the validity of the search are in question.” United

States v. Pena, 961 F.2d 333, 339 (2d Cir. 1992) (internal quotation mark omitted). A defendant

may not rely on “bald assertions,” and “[w]ithout specification of the factual basis” that supports

suppression, “the district court is not required to have a hearing.” United States v. Mathurin, 148

F.3d 68, 69 (2d Cir. 1998); see also United States v. Viscioso, 711 F. Supp. 740, 745 (S.D.N.Y.

1989) (“A hearing is not required if the defendant’s statements are general, conclusory or based on

conjecture.”). Moreover, although the Government’s reliance on “unsworn statements” in its

Memorandum of Law may generally not be enough for a court to make a finding of fact, see United

States v. Marquez, 367 F. Supp. 2d 600, 603 (S.D.N.Y. 2005), a defendant nevertheless bears the

initial burden of establishing, by an affidavit of someone with personal knowledge of the

underlying facts, that there are, in fact, disputed issues of material facts, Viscioso, 711 F. Supp. at

745 (citing United States v. Caruso, 684 F. Supp. 84, 87 (S.D.N.Y. 1998)). “[A]n attorney’s

affidavit, absent personal knowledge[,] is insufficient to justify a suppression hearing.” United

States v. Cook, 348 F. Supp. 2d 22, 28 (S.D.N.Y. 2004).




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        II.     Reasonable Suspicion for Terry Stops

        Law enforcement officers may initiate a consensual encounter with a private citizen in a

public forum for any reason without violating the Fourth Amendment. See Florida v. Bostick, 501

U.S. 429, 434 (1991). A consensual encounter ripens into a detention or a seizure when, “under

the circumstances, a reasonable person would have believed that he was not free to leave.” United

States v. Peterson, 100 F.3d 7, 10 (2d Cir. 1996).

        Under Terry v. Ohio, 392 U.S. 1 (1968), “a police officer may briefly detain an individual

for questioning if the officer has ‘a reasonable suspicion that the individual is, has been, or is about

to be engaged in criminal activity.’” United States v. Padilla, 548 F.3d 179, 186 (2d Cir. 2008)

(quoting United States v. Villegas, 928 F.2d 512, 516 (2d Cir. 1991)). An officer has a reasonable

suspicion when he or she is “aware of specific articulable facts, together with rational inferences

from those facts, that reasonably warrant suspicion.” United States v. Brignoni-Ponce, 422 U.S.

873, 884 (1975). “[T]he amount of suspicion needed to justify the encounter is less than a ‘fair

probability’ of wrongdoing, and ‘considerably less than proof of wrongdoing by a preponderance

of evidence.’” Padilla, 548 F.3d at 186-87 (quoting United States v. Sokolow, 490 U.S. 1, 7

(1989)). “Moreover, such a stop must be ‘justified at its inception.’ Any events that occur after a

stop is effectuated cannot contribute to the analysis of whether there was reasonable suspicion to

warrant the stop in the first instance.” United States v. Freeman, 735 F.3d 92, 96 (2d Cir. 2013)

(quoting Terry, 392 U.S. at 20).

        To frisk a suspect who has been lawfully stopped, police officers must have reasonable

suspicion that the suspect is armed and dangerous. Terry, 392 U.S. at 24; United States v.

Oates, 560 F.2d 45, 61 (2d Cir. 1977). “Where officers have reasonable suspicion that the suspect

has committed, or is about to commit, a violent or dangerous crime, the suspicion necessary to


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justify a stop ordinarily justifies a frisk as well.” United States v. Jackson, No. 15-CR-106 JPO,

2015 WL 4557401, at *7 (S.D.N.Y. July 29, 2015) (citing WAYNE R. LAFAVE, 4 SEARCH &

SEIZURE § 9.6(a) nn.55–61 (5th ed. 2014) (collecting cases)).

       The “reasonable suspicion” inquiry requires courts to “look at the totality of the

circumstances of each case to see whether the detaining officer has a particularized and objective

basis for suspecting legal wrongdoing.” Freeman, 735 F.3d at 96 (emphasis omitted). Courts

“evaluate this totality of the circumstances ‘through the eyes of a reasonable and cautious police

officer on the scene, guided by his experience and training,’ [but may] ‘not merely defer to the

police officer’s judgment.” Id. (quoting United States v. Bayless, 201 F.3d 116, 133 (2d Cir. 2000)

(internal quotation marks omitted)).

       “[T]he apparent adjustment of a concealed firearm” coupled with factors such as presence

in a high-crime area has been deemed a sufficient basis for an investigative stop. United States v.

Padilla, 548 F.3d 179, 189 (2d Cir. 2008) (holding that defendant’s body movement, which the

arresting officer testified was “consistent with the adjustment of a concealed firearm” based on his

“eight to ten arrests of armed individuals observed to make the same movement” conferred

reasonable suspicion for stop and frisk); accord United States v. Rodriguez, 727 F. App’x 725, 728

(2d Cir. 2018) (holding that, despite innocent justifications provided by defense counsel,

defendant’s movements, which became suspicious when he continued them for a long time,

“established an articulable suspicion of having a weapon in the waistband area of the trousers and

the body”); see also United States v. Dekattu, No. 1:18-CR-0474, 2019 WL 1091384, at *5

(E.D.N.Y. Mar. 8, 2019) (finding reasonable suspicion where the defendant “was observed in a

‘high crime area,’ behaving nervously and appearing to carry a concealed firearm, and when the

police approached him, he reacted in an agitated and evasive manner”). Similarly, the Second

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Circuit has upheld a finding of reasonable suspicion based in part on a suspect “looking around

nervously over his shoulders.” United States v. Glover, 957 F.2d 1004, 1010 (2d Cir. 1992).

“[W]here an officer has a reasonable basis to think that the person stopped poses a present physical

threat to the officer or others, the Fourth Amendment permits the officers to take ‘necessary measures

. . . to neutralize the threat’ without converting a reasonable stop into a de facto arrest.” 1 United States

v. Newton, 369 F.3d 659, 674 (2d Cir. 2004) (quoting Terry, 392 U.S. at 24). “This doctrine has

supported a range of restraints incident to a stop, from the pat-down at issue in Terry, to the drawing

of firearms, to the use of hand-cuffs.” Id. (collecting cases).

        III.    Probable Cause to Arrest

        Investigative stops can lead to lawful arrests where “the existence of a probable cause sufficient

to support an arrest . . . develop[s] during the course of a stop based on reasonable suspicion.” Oates,

560 F.2d at 62; see also United States v. Brockington, 378 F. App’x 90, 91 (2d Cir. 2010) (“reasonable

suspicion may develop into probable cause based on events unfolding during an investigative stop”

(citing United States v. Vasquez, 638 F.2d 507, 522 (2d Cir. 1980)). An officer has probable cause to

arrest someone when the officer has “reasonably trustworthy information as to [the] facts and

circumstances that are sufficient to warrant a person of reasonable caution in the belief that an

offense has been or is being committed by the person to be arrested.” Zellner v. Summerlin, 494

F.3d 344, 368 (2d Cir. 2007) (internal quotation omitted). When courts assess whether a police


        1
        In order to determine whether an alleged Terry stop has become a de facto arrest, courts
consider

        the amount of force used by police, the need for such force, and the extent to which the
        individual’s freedom of movement was re-strained, and in particular such factors as the
        number of agents involved; whether the target of the stop was suspected of being
        armed; the duration of the stop; and the physical treatment of the suspect, including
        whether or not handcuffs were used.

Oliveira v. Mayer, 23 F.3d 642, 645 (2d Cir. 1994).
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officer had probable cause to arrest, they consider “whether the facts known by the arresting officer

at the time of the arrest objectively provided cause to arrest.” Jaegly v. Couch, 439 F.3d 149, 153

(2d Cir. 2006). “[P]robable cause means more than bare suspicion . . . [a]nd it certainly means

more than suspicion of some generalized misconduct: no probable cause exists to arrest where a

suspect’s actions are too ambiguous to raise more than a generalized suspicion of involvement in

criminal activity.” Gonzalez v. City of Schenectady, 728 F.3d 149, 155 (2d Cir. 2013) (internal

citations and quotation marks omitted).

       IV.      Post-Arrest Statements

       Under Miranda v. Arizona, “the prosecution may not use statements, whether exculpatory

or inculpatory, stemming from custodial interrogation of [a] defendant unless it demonstrates the

use of procedural safeguards effective to secure the privilege against self-incrimination.” 2 384 U.S.

436, 444 (1966). “‘[C]ustody’ for Miranda purposes is not coterminous with . . . the colloquial

understanding of custody.” United States v. FNU LNU, 653 F.3d 144, 152-53 (2d Cir. 2011). The

test for determining custody is an objective inquiry that asks (1) “whether a reasonable person

would have thought he was free to leave the police encounter at issue” and (2) whether “a

reasonable person would have understood his freedom of action to have been curtailed to a degree

associated with formal arrest.” United States v. Newton, 369 F.3d 659, 672 (2d Cir. 2004) (citing

Stansbury v. California, 511 U.S. 318, 322 (1994); California v. Beheler, 463 U.S. 1121, 1125

(1983)).




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          Specifically, under Miranda, law enforcement must “advise a suspect that ‘he has a
right to remain silent, that any statement he does make may be used as evidence against him, and
that he has a right to the presence of an attorney, either retained or appointed.’ ” United States v.
Schaffer, 851 F.3d 166, 173 n.23 (2d Cir. 2017) (quoting Miranda, 384 U.S. at 444).
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       Interrogation occurs “whenever a person in custody is subjected to either express

questioning or its functional equivalent.” Rhode Island v. Innis, 446 U.S. 291, 300-01 (1980). The

“functional equivalent” of an interrogation amounts to “any words or actions on the part of the

police (other than those normally attendant to arrest and custody) that the police should know are

reasonably likely to elicit an incriminating response from [a defendant].” Id. at 301. “Absent an

interrogation, there can be no infringement of the Fifth Amendment rights Miranda was designed

to protect.” Jackson v. Conway, 763 F.3d 115, 137 (2d Cir. 2014) (citing Edwards v. Arizona, 451

U.S. 477, 485 (1981)).

       By contrast, there is no interrogation where a defendant’s statements “were not made in

response to any purported questioning or its functional equivalent[.]” United States v. Hashmi, No.

06 CRIM. 442(LAP), 2009 WL 2496272, at *5 (S.D.N.Y. Aug. 7, 2009). A defendant’s voluntary

incriminating statements made while the defendant is in custody are admissible. United States v.

Compton, 428 F.2d 18, 22 (2d Cir. 1970). A “spontaneous or volunteered utterance by a suspect,

even though in custody . . . is not the product of custodial interrogation, and is thus not subject to

suppression under Miranda.” United States v. Fiseku, No. 15 Cr. 384 (PAE), 2015 WL 7871038,

at *15 (S.D.N.Y. Dec. 3, 2015) (citing United States v. Colon, 835 F.2d 27, 28, 30 (2d Cir. 1987)).

       V.      Exclusionary Rule

       “Evidence obtained by exploitation of a primary illegality is regularly excluded under

traditional taint analysis as the ‘fruit of the poisonous tree.’” United States v. Morales, 788 F.2d

883, 885 (2d Cir. 1986) (citing Wong Sun v. United States, 371 U.S. 471, 487-88 (1963)). This

exclusionary rule “reaches not only primary evidence obtained as a direct result of an illegal search

or seizure, but also evidence later discovered and found to be derivative of an illegality or ‘fruit of

the poisonous tree.’” United States v. Cacace, 796 F.3d 176, 188 (2d Cir. 2015) (quoting Segura v.


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United States, 468 U.S. 796, 804 (1984)). For evidence to be suppressed, it is not enough to

establish that the evidence would not have been obtained “but for” the illegal search or seizure.

See United States v. Nayyar, 221 F. Supp. 3d 454, 467 (S.D.N.Y. 2016). “Rather, the more apt

question in such a case is whether, granting establishment of the primary illegality, the evidence to

which instant objection is made has been come at by exploitation of that illegality or instead by

means sufficiently distinguishable to be purged of the primary taint.” Wong Sun, 371 U.S. at 487-

88 (internal quotation and citation omitted). In assessing whether a statement has been purged of

taint, courts will consider, among other things, “whether a Miranda warning has been given and

waiver obtained, the temporal proximity of the illegal seizure and the contested [evidence], the

presence of intervening circumstances, and the purpose and flagrancy of the official misconduct.”

United States v. Thompson, 35 F.3d 100, 105 (2d Cir. 1994) (citing Brown v. Illinois, 422 U.S. 590,

603 (1975)).

                                          DISCUSSION

       Defendant has moved to suppress various physical evidence and statements he made in the

course of May 29, 2020 and has requested an evidentiary hearing to resolve factual disputes and

discrepancies as to the YPD Officers’ basis for stopping, arresting, and searching Defendant. The

Court notes that the parties have presented two versions of the events that transpired on May 29,

2020. There are conflicting accounts as to whether the officers had reasonable suspicion to stop

Defendant, whether there was a valid Terry stop or whether the stop and immediate seizure of

Defendant constituted a de facto arrest, and when Defendant told officers how he came to possess

the firearm in question after his arrest. In his declaration, Defendant avers in sum and substance

that he was merely walking down the street in broad daylight with a bag slung across his body,

was not acting suspiciously, and that the officers’ first words to him were “What[’s] in the bag!”


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(Dixon Decl.) In other words, Defendant claims that the officers stopped and detained him without

reasonable suspicion and arrested him immediately without giving him an opportunity to respond

to their questions. The Government, in turn, claims that the officers had reasonable suspicion to

stop Defendant because they observed him engaging in suspicious behavior including walking in

a high-crime area; constantly adjusting and nervously looking into his bag, which appeared to

contain a heavy object; and turning his body away as if to shield the bag from the view of officers

in a marked police car he passed. The Government further contends that when he was approached

by officers, Defendant stepped back and turned his body as if to conceal the bag that officers

already suspected contained a weapon and that since they suspected that he had a weapon, they

patted him down, identifying the object in the bag as a gun, and at that point, Defendant was

arrested.

       The Court finds that Defendant has sufficient personal knowledge of the events that

transpired on May 29, 2020 and his account is “sufficiently definite, specific, detailed, and

nonconjectural” to warrant an evidentiary hearing to determine whether the officers had reasonable

suspicion to stop and probable cause to arrest Defendant, whether Defendant’s subsequent

statements, while under arrest and in transit to the station, were spontaneous, and further, whether

the statements subsequently made during a custodial interrogation were made after the Defendant

waived his Miranda rights. See Pena, 961 F.2d at 339.

                                         CONCLUSION

       For the foregoing reasons, Defendant’s motion to suppress is GRANTED to the extent of

setting the matter for an evidentiary hearing to determine whether the police officers’ stop and

subsequent search of the Defendant, resulting in the discovery of physical evidence, was lawful,

and whether Defendant’s statement enroute to the station was spontaneous or the subject of a


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custodial interrogation. The evidentiary hearing will be scheduled during the status conference

scheduled for January 22, 2021 at 11:00 AM. The Clerk of the Court is respectfully directed to

terminate the motion at ECF No. 26.

                                                             SO ORDERED.
Dated:   January 12, 2021
         White Plains, New York

                                                               NELSON S. ROMÁN
                                                           United States District Judge




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